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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                                ROME DIVISION
                                          §
Melanie H. Sluder and Ricky S. Curtis,    §
Individually and as Independent           §
Administrators of the Estate of Alexis M. §
Sluder, Deceased,                         §
                                          §
      Plaintiffs,                         §
v.                                        § CIVIL ACTION NO.
                                          § 4:24-cv-00181-WMR
Rebecka Phillips et al.                   §
                                          §
      Defendants.                         §
                                          §

                         CERTIFICATE OF SERVICE
      This is to certify that I have served counsel of record with a copy of
Defendant Brooks’ Objections and Responses to Plaintiff’s Interrogatories
and Requests for Production by serving same using electronic mail at the email
address that each respective counsel has on record with the Court.


 This 28th day of January, 2025.
                                             HENEFELD & GREEN, P.C.

                                             /s/ Noah Green
                                             Noah Green
                                             Georgia Bar No. 468138
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